               Case 17-13030-MFW               Doc 373        Filed 04/28/19         Page 1 of 32



                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


                                                          Chapter 11
    In re
                                                          Case No. 17-13030 (MFW)
    LIFE SETTLEMENTS ABSOLUTE                             (Jointly Administered)
    RETURN I, LLC, et al.,1
                                                          RE: D.I. 265
                              Debtors.


             THE SETTLEMENT GROUP, INC.’S OBJECTION TO SALE OF
            SUBSTANTIALLY ALL OF DEBTORS’ ASSETS TO ENSIGN PEAK
             ADVISORS, INC. AND MEMORANDUM OF LAW IN SUPPORT


Dated: April 28, 2019

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                                                          COUNSEL FOR
                                                          THE SETTLEMENT GROUP, INC.




1
 The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
number, are as follows: Life Settlements Absolute Return I, LLC (7992) and Senior LS Holdings, LLC (5731). The
mailing address for the Debtors, solely for purposes of notices and communications, is: 6650 Rivers Avenue, Suite
105 #81921, North Charleston, SC 29406-4829, with copies to Nelson Mullins Riley & Scarborough LLP, c/o Shane
G. Ramsey, 150 Fourth Avenue North, Suite 1100, Nashville, TN 37219 and Bayard, P.A., c/o Evan T. Miller, 600
N. King Street, Suite 400, Wilmington, DE 19801.
                      Case 17-13030-MFW                              Doc 373               Filed 04/28/19                   Page 2 of 32



                                                              TABLE OF CONTENTS

TABLE OF AUTHORITIES ....................................................................................................................................... iii
PRELIMINARY STATEMENT ...................................................................................................................................1
BACKGROUND ...........................................................................................................................................................2
    A.       THE INDENTURE AND GERS LITIGATION. ........................................................................................................3
    B.       THE BID PROCEDURES. ....................................................................................................................................4
    C.       THE AUCTION. .................................................................................................................................................6
    D.       THE MULTIPLE ADJOURNMENTS .................................................................................................................... 14
ARGUMENT AND AUTHORITY ............................................................................................................................. 16
    A.       ENSIGN PEAK COULD NOT BID AT THE AUCTION BECAUSE IT DID NOT SUBMIT A QUALIFYIED BID. ........... 17
    B.       ENSIGN PEAK MAY NOT CREDIT BID. ............................................................................................................ 18
    C.       MULTIPLE CREDIT BIDS ARE NOT AUTHORIZED BY THE BID PROCEDURES................................................... 21
    D.       NEITHER ENSIGN PEAK NOR WELLS FARGO HAS A SECURITY INTEREST IN THE DEBTORS’ CLAIMS AND
             CAUSES OF ACTION. ....................................................................................................................................... 22
    E.       ENSIGN PEAK’S CREDIT BID APA CONTAINS IMPERMISSIBLE RELEASES ...................................................... 26
CONCLUSION ........................................................................................................................................................... 26




                                                                                Page ii
                  Case 17-13030-MFW                     Doc 373          Filed 04/28/19            Page 3 of 32



                                               TABLE OF AUTHORITIES

                                                                Cases

Bayer Corp. v. MascoTech, Inc. (In re Autostyle Plastics, Inc.),
       269 F.3d 726 (6th Cir. 2001) ............................................................................................. 16

Covenant at South Hills, Inc.,
      410 B.R. at 431 ................................................................................................................. 19

In re 222 Liberty Assoc.,
        108 B.R. 971 (Bankr. E.D. Pa. 1990) ............................................................................... 22

In re CHL, LLC,
       Case No. 18-00630, 2018 WL 3025310, at *4 (Bankr. E.D.N.C. June 14, 2008) ............ 22

In re Covenant at South Hills, Inc.,
       410 B.R. 426 (Bankr. W.D. Pa. 2009) .............................................................................. 19

In re CS Mining, LC,
       574 B.R. 259 (Bankr. D. Utah 2017) ................................................................................ 22

In re Diebart Bancroft,
       Case No. 92-3744, 1993 WL 21423, at *5 (E.D. La. Jan. 26, 1993) ................................ 22

In re Family Christian, LLC,
       533 B.R. 600 (Bankr. W.D. Mich. 2015) .......................................................................... 15

In re Integrated Testing Products Corp.,
        69 B.R. 901 (D.N.J. 1987) ................................................................................................ 24

In re Ludford Fruit Productions Inc.,
        99 B.R. 18 (Bankr. C.D. Ca. 1989); .................................................................................. 24

In re Pearson Industries, Inc.,
        178 B.R. 753 (Bankr. N.D. Ill. 1995) ............................................................................... 24

In re Tek-Aids Industries, Inc.,
        145 B.R. 253 (Bankr. N.D. Ill. 1992) ............................................................................... 23

Mizuho v. Enron Corp.,
      2005 WL 356985, at *6 (S.D.N.Y. Feb. 15, 2005)).......................................................... 19




                                                                Page iii
                  Case 17-13030-MFW                      Doc 373           Filed 04/28/19             Page 4 of 32



                                                                Statutes

11 U.S.C. § 363(k) ........................................................................................................................ 22

11 U.S.C. § 506(a)(1) .................................................................................................................... 18

11 U.S.C. § 552(a) ........................................................................................................................ 23
                                                                  Rules

Fed. R. Bankr. P. 2002(a)(3) ......................................................................................................... 25

Fed. R. Bankr. P. 9019 .................................................................................................................. 25




                                                                  Page iv
               Case 17-13030-MFW               Doc 373         Filed 04/28/19      Page 5 of 32



        The Settlement Group, Inc. (“TSG”) hereby submits this objection (the “Objection”) to

the sale of substantially all of the Debtors’ assets to Ensign Peak Advisors, Inc. (“Ensign

Peak”).2 In support of this Objection, TSG represents as follows:

                                     PRELIMINARY STATEMENT

        1.       At the conclusion of the auction in Greenville, South Carolina, Debtors’ counsel

unequivocally stated on the record: “[t]he bid that was submitted this morning by Ensign Peak

was [] violative of certain components of the bid procedures order.” Courts approve bid

procedures and enter bid procedures orders to promote fundamental fairness and ensure that all

parties are playing by the same rules. Despite stating on the record that Ensign Peak’s credit bids

were violative of the Bid Procedures,3 the Bid Procedures approved by this Court were

continually and systematically disregarded and undermined. More specifically and as explained

more fully herein, multiple bidders were permitted to participate who did not provide a Qualified

Bid by the Bid Deadline, a creditor (Ensign Peak and/or Wells Fargo) was allowed to credit bid

for assets (Chapter 5 causes of action) in which it does not have a lien, and a bid was accepted

which purports to settle estate claims and causes of action without the necessary notice and

approval required by the Federal Rules of Bankruptcy Procedure (9019). In sum, the auction

process was used to setup what amounts to practically a sub rosa plan that disposes of all of the

Debtors’ assets, settles existing litigation and releases both the Debtors, their principals, Ensign

Peak, GERS, and Wells Fargo. The failure to conform to the Bid Procedures is cause for the



2
  TSG notes that the Notice of Winning Bidder purports to name “Wells Fargo Bank, N.A., in its capacity as
indenture trustee under that certain Indenture dated as of June 12, 2008, acting on behalf and at the direction of
Ensign Peak Advisors, Inc.” as the “Winning Bidder.” However, based upon the facts and for the reasons explained
more fully herein, Ensign Peak was the party that made the bid that the Debtors are claiming was the highest bid.
Further, as specified in the Ensign Peak Final APA (as that term is defined herein), Ensign Peak is the purchaser of
the assets.
3
  Unless otherwise specifically defined herein, capitalized terms shall have the meaning ascribed to them in the Bid
Procedures.


                                                      Page 1
              Case 17-13030-MFW             Doc 373         Filed 04/28/19    Page 6 of 32



Court to deny any sale to Ensign Peak (or Wells Fargo on their behalf) and instead should

approve the sale to the Back-Up Bidder, The Settlement Group, Inc.

                                            BACKGROUND

        2.      On December 29, 2017 (the “Petition Date”), Life Settlements Absolute Return I,

LLC (“LSAR”) and Senior LS Holdings, LLC (“Senior LS” and together with LSAR, the

“Debtors”) filed voluntary petitions for relief under chapter 11 of the Bankruptcy Code, thereby

commencing the above captioned bankruptcy cases (collectively, the “Chapter 11 Cases”). On

the same day, the Debtors filed a motion directing joint administration of the Chapter 11 Cases.

On January 5, 2018, the Court entered an order directing the joint administration of the Chapter

11 Cases [D.I. 25].

        3.      Pursuant to sections 1107(a) and 1108 of the Bankruptcy Code, the Debtors

continue to operate their businesses and manage their properties as debtors in-possession. To

date, no official committees have been appointed in these Chapter 11 Cases and no request has

been made for the appointment of a trustee or an examiner.

        4.      According to the Debtors’ first day pleadings, LSAR was formed as a special

purpose vehicle to invest in life insurance policies (the “Policies”) in the life settlement market.4

The Policies were issued by leading insurance companies to individuals who are generally

wealthy and desire to sell their Policies and the related benefits, rather than surrender them to the

issuing insurance company for less value (the “Insureds”).5 Upon purchasing a policy, the

investor maintains such policy by paying the premiums and any related costs (collectively, the

“Premiums”) until the insured individual passes away. At such time, the investor, as the owner

and beneficiary of the policy, is entitled to the death benefit proceeds.

4
  See Declaration of Robert J. Davey, III in Support of Chapter 11 Petitions and First Day Motion (the “Davey
First Day Declaration”)[D.I. 7] at ¶ 16.
5
  See Davey First Day Declaration at ¶ 17.


                                                   Page 2
               Case 17-13030-MFW                Doc 373         Filed 04/28/19       Page 7 of 32



         5.       As explained in the Debtors’ first day pleadings, LSAR is a wholly-owned

subsidiary of Attilanus f/k/a The Atticus Fund I, L.P. (“Attilanus”).6 Attilanus is managed by its

general partner, Anysia Financial Management, LLC (“Anysia”), which Robert Davey

(“Davey”), the Debtors’ principal, serves as an officer and director.

         6.       Further, although the Debtors do not have any employees, Anysia engages Clear

View Advisors Corporation (“CVACorp”) to provide services relating to the preparation of

monthly reports to the Indenture, as well as other services related to servicing the Policies.7

CVACorp is also owned and managed by Davey.

         A.       The Indenture and GERS Litigation.

         7.       LSAR is a party to that certain Trust Indenture by and between Life Settlements

Absolute Return I, LLC, as Issuer, and Wells Fargo, N.A., as Trustee, dated as of June 12, 2008

(the “Indenture”).8 Pursuant to the Indenture, Wells Fargo (“Wells Fargo” or “Trustee”) is the

Policy Administrator and Trustee. Under the Indenture, LSAR purportedly issued preference

notes in the principal amount of $40 million (the “Preference Notes”) mezzanine notes in the

principal amount of $24 million (the “Mezzanine Notes”), and residual notes in the amount of

$110,222,499 (the “Residual Notes,” and collectively with the Preference Notes and the

Mezzanine Notes, the “2008 Notes”). As of the Petition Date, the Preference Notes were

allegedly held by Ensign Peak Advisors, Inc. (“Ensign Peak”).9

         8.       Pursuant to the Indenture, LSAR granted a security interest in certain collateral

(including the Policies and the proceeds thereof) to “[Wells Fargo] and its successors and assigns



6
  See Davey First Day Declaration at ¶ 9.
7
  See Davey First Day Declaration at ¶ 22.
8
  See Indenture at 1. A copy of the Indenture received from Debtors’ counsel is attached hereto at Exhibit A.
9
  On March 29, 2018, Ensign Peak filed its Proof of Claim (the “Ensign POC”). The Ensign POC unequivocally
states that the “basis for perfection” of its claim is “Trustee (for benefit of Securityholders) holds collateral.”). A
true and correct copy of the relevant portions of the Ensign POC is attached hereto as Exhibit B.


                                                       Page 3
               Case 17-13030-MFW            Doc 373         Filed 04/28/19     Page 8 of 32



for the benefit of the Securityholders and any agent, lender or lenders under the Credit

Facility.”10

        9.      In addition to the parties to the Indenture, The Government Employees’

Retirement System of the Virgin Islands f/k/a the Employees’ Retirement System of the Virgin

Islands (“GERS”) asserts a claim in the amount of $14,527,076.69 (the “GERS Claims”).11

GERS argues that its claims are also secured pursuant to the Indenture, because, according to

GERS, its claims arise pursuant to a “credit facility” that is authorized pursuant to the Indenture.

The Debtors and Wells Fargo both dispute this position and the issue of whether GERS is

secured by the Indenture (along with a number of other issues) is the subject of the adversary

proceeding styled: The Government Employees’ Retirement System of the Virgin Islands f/k/a the

Employees’ Retirement System of the Virgin Islands v. Life Settlements Absolute Return I, LLC,

et, al, Adv. No. 18-50677-MFW, currently pending before this Court (the “GERS Adversary”).

Importantly, both Wells Fargo and the Debtors take the position in the GERS Adversary that

Wells Fargo is the Debtors’ “sole” secured party in this case.12

        B.      The Bid Procedures.

        10.     On February 26, 2019, after a contested hearing on the terms and provisions of the

proposed bid procedures, the Court entered its Order Pursuant to 11 U.S.C. §§ 105, 363, 365,

503 and 507 and Bankruptcy Rules 2002, 6004 and 6006 (A) Establishing Bid and Auction

Procedures for the Proposed Sale of Substantially All of the Debtors’ Assets; (B) Approving the

Purchase and Sale Agreement; (C) Approving Related Bid Protections; (D) Scheduling an


10
   See Indenture at 2-3.
11
   See Claim Register No. 3-1 (the “GERS POC”). A true and correct copy of the GERS POC is attached hereto as
Exhibit C.
12
   See Opening Brief in Support of Wells Fargo Motion for Summary Judgment at 9 [Adv. D.I. 73] (“WF GERS
MSJ Brief”); Memorandum of Law in Support of the Motion of Defendants/Counterclaim Plaintiffs Life Settlements
Absolute Return I, LLC and Senior LS Holdings, LLC for Partial Summary Judgment at 20 [Adv. D.I. 70] (the
“Debtors’ GERS MSJ Brief”).


                                                   Page 4
               Case 17-13030-MFW               Doc 373          Filed 04/28/19       Page 9 of 32



Auction and Sale Hearing and Approving Notice Thereof; (E) Approving Procedures for

Determining Cure Amounts for Executory Contracts and Unexpired Leases to be Assumed and

Assigned and Notice Thereof; and (F) Granting Related Relief (the “Bid Procedure Order”)

[D.I. 311]. The Bid Procedures Order finds that the Asset Purchase Agreement submitted by

TSG (the “TSG APA”) was the best offer the Debtors received as a result of their pre-petition

efforts to market the Policies.13 Additionally, the text of the Bid Procedures Order provides:

                  No bid shall be deemed to be a Qualifying Bid (as defined in the Revised
                  Bid Procedures) or otherwise considered for any purposes unless such bid
                  meets the requirements set forth in the Revised Bid Procedures. As set
                  forth in the Revised Bid Procedures, any Qualifying Bid shall provide
                  sufficient cash to pay, in full, at closing an amount equal to or greater than
                  the aggregate of (a) the consideration offered for the Property in the
                  Purchase and Sale Agreement, plus (b) the Break-Up Fee and Expense
                  Reimbursements (i.e., $600,000), plus (c) $100,000.14

         11.      Among other things, the Bid Procedures Order approves the Bid Procedures (the

“Bid Procedures”).15 The Bid Procedures provide, inter alia:

                     A “Qualified Bidder” is a Potential Bidder that delivers the
                      documents described in Section D, below, and that the Debtors, in
                      consultation with the Consultation Parties (as defined herein),
                      determine is reasonably likely (based on financial information
                      submitted by the Potential Bidder, the availability of financing,
                      experience and other consideration deemed relevant by the Debtors, in
                      consultation with the Consultation Parties, to be able to consummate a
                      Transaction if selected as the Prevailing Purchaser (as defined
                      herein).16

                     To be deemed a “Qualified Bid,” a bid must be received from a
                      Qualified Bidder no later than the Bid Deadline (as defined below)
                      including the following information

                           (a) states such Qualified Bid offers (i) to purchase all or
                               substantially all of the Property, or (ii) restructure one or both
                               of the Debtors and its or their business upon the terms and

13
   See Bid Procedures Order at ¶ E.
14
   See Bid Procedures Order at ¶ 7.
15
   See Bid Procedures at ¶ 4. A true and correct copy of the Bid Procedures is attached hereto at Exhibit D.
16
   See Bid Procedures at 2.


                                                       Page 5
              Case 17-13030-MFW               Doc 373       Filed 04/28/19        Page 10 of 32



                               conditions set forth in a Restructuring Term Sheet, which the
                               Debtors reasonably determine, in consultation with the
                               Consultation Parties, is no less favorable than the terms and
                               conditions of the [TSG APA];17

                          (j) is likely to result in a value of the Debtors’ estates in the
                              Debtors’ business judgment that is more than the aggregate of
                              the value of the sum of: (i) the Purchase Price, as identified in
                              the [TSG APA]; plus (iii)[sic] the sum of the Break-Up Fee
                              and Expense Reimbursement, as defined in the Bid Procedures
                              Order, for both BPCP Life Settlements LLC (“BPCP”) and
                              [TSG] (i.e., $600,000); plus (iv) $100,000 (“Minimum
                              Topping Amount”);18

                     Any party (other than [TSG] and Trustee) that does not submit a bid
                      by the Bid Deadline…will not be allowed to (i) submit any offer after
                      the Bid Deadline or (ii) participate in the Auction.19

                     In connection with the Sale of all or any portion of the Property, a
                      person or entity holding a perfected security interest in any such
                      Property may, pursuant to section 363(k) of the Bankruptcy Code, seek
                      to credit bid some or all of its claims secured by such security interests
                      for the property in which it holds such security interest (each such bid,
                      a “Credit Bid”), provided that such claims and/or security interests are
                      not subject to a bona fide dispute.20

                     Notwithstanding the foregoing, it is expressly understood and agreed
                      that the Trustee shall be entitled, but not obligated, to submit a Credit
                      Bid (provided it has received direction and indemnification from its
                      noteholders) with a purchase price equal to an amount up the Trustee’s
                      security interest in the Property; provided that such bid shall be the
                      only bid submitted by the Trustee pursuant to these Bid Procedures.21

        C.       The Auction.

        12.      Prior to the Auction, in addition to TSG’s bid (which was deemed a Qualified Bid

pursuant to the Bid Procedures Order),22 the Debtors received three other bids. Specifically, the



17
   See Bid Procedures at 3.
18
   See Bid Procedures at 5.
19
   See Bid Procedures at ¶ 15.
20
   See Bid Procedures at ¶ 12.
21
   See Bid Procedure at ¶ 13.
22
   See Bid Procedures Order at ¶ 26 (“For the avoidance of doubt, the Proposed Purchaser [TSG] is a Qualifying
Bidder and the transaction set forth in, and by virtue of, the Purchase and Sale Agreement, is a Qualifying Bid.”).


                                                      Page 6
              Case 17-13030-MFW            Doc 373       Filed 04/28/19      Page 11 of 32



bids consisted of: (i) $6.7 million cash bid from Treisigh Fund LLC (the “Treisigh Initial Cash

Bid”); (ii) $7.1 million cash bid from Berkshire Settlements, Inc. (the “Berkshire Initial Cash

Bid”); and (iii) $6.7 million cash bid from Ensign Peak (the “Ensign Cash Bid”). Importantly,

the asset purchase agreement submitted with the Ensign Cash Bid (the “Ensign Cash Bid

APA”)23 included in the definition of “Assets” the following:

                (c) any rights, claims or causes of action of any of the Sellers against
                Third Parties to the extent Primarily Related to any of the Assets, whether
                arising before or after the Closing, including Avoidance Actions against
                Third Parties, (d) the Accounts Receivables, (e) the Policy Files, (f) all
                rights of the Sellers under non-disclosure or confidentiality agreements
                with employees and agents of the Sellers or with Third Parties to the
                extent related to the other Assets, and (g) the Policy Rights.24

        13.     On April 17, 2019, Debtors’ counsel commenced the Auction in Greenville, South

Carolina. Debtors’ counsel announced that the highest bid the Debtors received prior to the

Auction was the Berkshire Initial Cash Bid of $7.1 Million. After announcing the order of

bidding and going off the record to confer with Ensign Peak’s counsel, Debtors’ counsel came

back on the record whereby Ensign Peak’s counsel announced that Ensign Peak would be

submitting a credit bid in the amount of $11 Million (the “Ensign Initial Credit Bid”).25 At no

time during the Auction did Wells Fargo’s attorney, who was present at the Auction, state that

the credit bid was being submitted by Wells Fargo, who was the only secured creditor. In fact,

every sentence uttered at the Auction, which thankfully was transcribed, make clear that the

Ensign Initial Credit Bid was Ensign’s Credit Bid, not that of Wells Fargo. 26 Specifically,

counsel for Ensign Peak stated:


23
   A true and correct copy of the redline of the Ensign Cash Bid APA is attached hereto as Exhibit E.
24
   See Ensign Cash Bid APA at 2 (emphasis added).
25
   Along with the Ensign Initial Credit Bid, Ensign Peak submitted a revised Asset Purchase Agreement (the
“Ensign Initial Credit Bid APA”). A copy of the redline Ensign Initial Credit Bid APA is attached hereto as
Exhibit F.
26
    Below is the list of the thirteen occasions that the credit bid was made by Ensign Peak, not Wells Fargo.



                                                   Page 7
              Case 17-13030-MFW                Doc 373        Filed 04/28/19        Page 12 of 32



                  On behalf of Ensign Peak with an allowed claim and secured creditor in
                  the case and having been -- having instructed the trustees to submit the
                  credit bid, I am submitting a credit bid in the amount of $11 million
                  against their -- the currently outstanding amount of their secured claim.27

Counsel for Ensign Peak went on to explain:

                  it's an $11 million credit bid. This bid resolves the outstanding litigation
                  with GERS. There would be a -- we -- there would be an amount of money
                  that is left behind in the estate to satisfy allowed claims in the bankruptcy
                  case. And that – the amount of those allowed claims, the cap of that
                  would be $1.2 million. And then it also provides for a sufficient amount to
                  wind down the estate, and the amount of that money is 75,000. The rest of
                  the cash that is in the estate at closing would go to Ensign Peak, and

Page 6:11-18
         MR. KURTZ: This is Mark Kurtz from Richards, Layton & Finger. On behalf of Ensign Peak with an
allowed claim and secured creditor in the case and having been – having instructed the trustees to submit the credit
bid, I am submitting a credit bid in the amount of $11 million against their -- the currently outstanding amount of
their secured claim.

Ensign’s APA makes clear that it is the Ensign debt that is reduced by the credit bid (see Section 2.03, above). So
the word “their”, above obviously refers to Ensign.

Page 29:8-9
         MR. SCHLAUCH [Ensign’s Lawyer]: We will stand with our current bid of $12.5 million.
Page 30:4-5
         MR. SCHLAUCH: Yeah. We are still standing at 12.5.
Page 31:13-14
         MR. SCHLAUCH: Ensign Peak will stand at its 12.5 credit bid.
Page 31:21-22
          MR. SCHLAUCH: We will stand at the credit bid of 12.5 million.
Page 32:6-7
         MR. SCHLAUCH: Ensign Peak will stand at the 12.5 million credit bid.
Page 32:16
          MR. SCHLAUCH: We will stand at 12.5.
Page 33:7-8
         MR. SCHLAUCH: We stand at our credit bid of 12.5 million.
Page 33:21-22
         MR. SCHLAUCH: Ensign will stand firm at the 12.5 million credit bid.
Page 35:8-10
         MR. MILLER: As of right now, of course, the bid is --Ensign Peak's bid is at the highest -- is the highest
bid.
Page 39:7-9
         MR. SCHLAUCH: So, you know, just so we are clear, Ensign Peak's credit bid was timely and was in
accordance with the bidding procedures.
Page 42:13-15
         MR. MILLER: The bid that was submitted this morning by Ensign Peak was also violative of certain
components of the bid procedures order,
Page 42
         MR. KURTZ: One other statement. We just want to go on the record we are of the position that our credit
bid does comply with the bidding procedures order.
27
   See Transcript of Auction at 6:13-18. A copy of the Transcript is attached hereto as Exhibit G.


                                                       Page 8
               Case 17-13030-MFW               Doc 373     Filed 04/28/19    Page 13 of 32



                  Ensign Peak would use that to pay -- to resolve the GERS litigation with a
                  payment of $7 million.28

After receiving a cash bid from Treisigh in the amount of $7.5 Million, the parties took a recess

to evaluate the Ensign Initial Cash Bid. Once back on the record, counsel for Ensign Peak again

elaborated on the Ensign Initial Cash Bid. Specifically:

                  The $11 million credit bid is for all of the policies and all of the related
                  rights associated with those policies. There is a -- the bid will take all of
                  the cash in the estate, but will leave behind 1.2 million for allowed claims,
                  $75,000 as a wind-down budget. Any cash that is left over would then go
                  to pay GERS the resolution amount or the settlement amount of $7
                  million. And after closing, because Ensign Peak would be taking and
                  holding all the policies, they are agreeing to pay all of the premiums. So
                  there's not the five-month premium perdition that was in the stalking horse
                  APA.29

After additional cash bids, Debtors’ counsel took another recess, and once back on the record,

Ensign Peak’s counsel explained how they were valuing the Ensign Initial Cash Bid:

                  The way that we value our bid, the value to the estate -- so we are valuing
                  it at 13,075,000. The way we get there is we have the $11 million credit
                  bid. We backed out the current cash of 3.2 million that we're buying at
                  closing. We add back 1,275,000, which amounts for the allowed claim
                  budget and the wind-down budget. And then we -- we added back the $2
                  million in savings for the five-month premium payments. That's how we
                  are valuing that. And then the savings to the estate of $2 million in
                  litigation costs —

Counsel for TSG then asked whether Ensign Peak’s valuation was accounting for the $300,000

account receivable that was added as an asset in the Ensign Cash Bid APA. Counsel for Ensign

Peak admitted that he had not accounted for that, and that the $300,000 value of the account

receivable should be factored into the valuation of Ensign Peak’s bid.30 Specifically:

                  MR. PRONSKE:                You all added accounts receivable to your definition of
                                              purchased assets, and my understanding is there is only one
                                              receivable, and it is worth 300,000.

28
   See Transcript of Auction at 6:20 – 7:8.
29
   See Transcript of Auction at 8:17-9:5.
30
   See Transcript of Auction at 12:15-18.


                                                      Page 9
               Case 17-13030-MFW               Doc 373       Filed 04/28/19    Page 14 of 32




                  MR. KURTZ:                 We have not added that back in.

                  MR. PRONSKE:               Shouldn’t that be added back in?

                  MR. KURTZ:                 It should be. I was unaware of that.31

From that point forward, in valuing its bid, Ensign Peak accounted for the $300,000 accounts

receivable in an amount of $300,000.

         14.      The Ensign Initial Credit Bid APA (as compared to the TSG APA) contains, as a

condition to closing, releases by the Debtors of Ensign Peak, Wells Fargo and GERS, including

the Debtors’ claims asserted in the GERS Adversary.32

         15.      The question was then raised about whether the Ensign Initial Credit Bid was the

“baseline” bid. Ensign Peak’s counsel noted for the record, that the bidding was to occur in

successive rounds and that the Debtors were modifying and deviating from the Bid Procedures.33

Debtors’ counsel then confirmed that the Debtors were indeed modifying the bid procedures to

allow cash bidders to continue bidding.34

         16.      After several additional rounds of cash bids, additional questions were raised as to

how the Debtors valued the Ensign Initial Credit Bid. The questions centered on how the Debtors

and their counsel valued the avoidance actions and other litigation being purchased by the Ensign

Initial Credit Bid.35 Ultimately, the Debtors, Ensign Peak and GERS agreed for purposes of the

Auction to value the GERS Litigation at $10 Million. In response, when the bidding came back

to Ensign, they raised their credit bid to $21 Million (the “Ensign Revised Credit Bid”) to give

value for the $10 Million in litigation claims being purchased. This was Ensign Peak’s second


31
   See Transcript of Auction at 15:19-25.
32
   See Ensign Initial Credit Bid APA at § 7.08(a) and (b).
33
   See Transcript of Auction at 14:14-20.
34
   See Transcript of Auction at 15:10-13.
35
   See Transcript of Auction at 18:22-19:25.


                                                       Page 10
                 Case 17-13030-MFW           Doc 373    Filed 04/28/19     Page 15 of 32



credit bit, which, as discussed below, also violated the Bid Procedures. As explained by Ensign’s

counsel:

                    We increase our credit bid in the amount of -- to the amount of $21
                    million. And with a litigation resolution valued at $2 million, a payment of
                    premiums on the closing date of $2 million, the allowed claims cap of $1.2
                    million, the residual amount of $75,000, for a total of $26.275 million in
                    value. An additional value and deductions for cash of 3.2 million; the
                    account receivable, $300,000. During the break, we were informed by the
                    Debtors' counsel of a GERS escrow amount related to the litigation of
                    $267,000. At least, that was the amount represented to us by the Debtors.
                    And a GERS claim, as discussed earlier in the auction, valued at $10
                    million. So deductions of $13.767 million. When you take the additions
                    minus the deductions, Ensign Peak's credit bid is valued at $12,508,000.36

           17.      As indicated by the above quote, Ensign was arguing that its $25 million credit

bid was valued at $12.508 million. That valuation is incorrect for a couple of obvious reasons:

First, the $267,000 addition to value due to the GERS litigation escrow account is a “double-dip”

of the estimated $2 million in litigation costs. If the Ensign valuation is correct, then the GERS

litigation cost is really $2.267 million, not $2.0 million. If the GERS litigation cost is really $2.0

million (which is what Ensign argued), the $267,000 litigation escrow would have been applied

to that $2.0 estimated cost, thereby making the cost really (1) $267,000 from the GERS litigation

escrow and (2) $1.733 million in cash (to make up the total of $2.0 million). Therefore, the value

was overstated by an obvious $267,000. Second, the estimated litigation cost savings of $2.0

million was grossly overstated and bore no relationship to reality. Further, since Ensign was not

paying consideration of $2.0 million, it should not be permitted to add $2.0 million to

consideration paid for the Debtor’s assets – this number is pure speculation and is not monetary

consideration. If the $2.0 million in value improperly ascribed by Ensign, the value of the $21.0

million credit bid was $10.508 million, which was $200,000 less than TSG’s ultimate bid of

$10.7 million ($10.4 million plus the stalking horse credit of $300,000).
36
     Transcript of Auction at 25:18-26:10.


                                                  Page 11
               Case 17-13030-MFW          Doc 373     Filed 04/28/19     Page 16 of 32



         18.      Upon being asked what the equivalent cash bid amount was, Debtors’ counsel

responded:

                  Here is the issue that we have now, is that Ensign Peak's bid is 12.8, but
                  we have issues with their asset purchase agreement and some of the terms
                  in their asset purchase agreement that we just received this morning. And
                  until such time as we can work those out -- if we can't work those out, then
                  we may not accept the bid even if the credit bid is higher than what a cash
                  bid would be.37

         19.      After a number of additional rounds of cash bids where Ensign referred to the

Ensign Revised Bid as their own credit no less than eight times, TSG was ultimately the highest

remaining cash bid of $10.4 million plus its break-up fee and expense reimbursement, for a value

of $10.7 million to the estate.38

         20.      After a short recess, the parties came back on the record where Treisigh again

chose to pass.39 Ensign then increased the credit portion of its bid to $25 Million (the “Ensign

Second Revised Credit Bid”).40

         21.      Debtors’ counsel then announced that it was going to adjourn the auction (the

“First Adjournment”) until Monday, April 22, 2019 at 10:00 a.m. (EST) in order to allow TSG

and Treisigh to determine whether to make a further bid, and potentially a joint bid. 41 In

connection with the adjournment, the Debtors filed their Notice of Adjourned Auction [D.I. 355].

The Notice of Adjourned Auction specifically states: “that the deadline to submit bids for the

Adjourned Auction is Sunday, April 21, 2019 at 5:00 p.m.” (the “Adjourned Bid Deadline”).




37
   Transcript of Auction at 26:24-27:7.
38
   Transcript of Auction at 33:18-25.
39
   Transcript of Auction at 34:10.
40
   Transcript of Auction at 34:15-16.
41
   Transcript at 35:1-6.


                                                Page 12
              Case 17-13030-MFW              Doc 373       Filed 04/28/19        Page 17 of 32



        22.      After the First Adjournment, Ensign Peak submitted another revised Asset

Purchase Agreement (the “Ensign Second Revised Credit Bid APA”).42 The Ensign Second

Revised Credit Bid APA continued to include within the definition of “Assets” claims and causes

of action against third parties and continued to contain releases of Ensign Peak, Wells Fargo, and

GERS.43 However, now included for the first time, where Ensign Peak’s prior APAs had

“reserve[d] all rights it has for any claims or causes of action…against [the Debtors] for fraud

committed by or intentional representations made by [the Debtors] or any of their

representatives with respect to the Assets and the transaction contemplated by the [APA]”44

Ensign Peak was now giving releases to Debtors “and each of their affiliates that is a debtor in

the jointly-administered Bankruptcy Case and any of their individual officers or directors and

managers (solely in such capacity) arising prior to closing.”45

        23.      Prior to the Adjourned Bid Deadline, counsel for TSG informed Debtors’ counsel

that TSG would not be submitting joint bid with Treisigh, because after reviewing the Bid

Procedures it was determined that the Bid Procedures prohibited joint bids.

        24.      Pursuant to the Debtor’s Adjourned Bid Deadline of Sunday, April 21 at 5:00

p.m. (at which time no additional bids were made), the bidding was over as of that deadline.

During the subsequent reconvened session of the Auction, where the announcement of a winner

was anticipated, the Debtor never commenced any further bidding, and the Debtor never

announced that further bids could be made. It is clear from the various Transcripts of the

Auction that the bidding was concluded, consistent with the filed Notice of the Adjourned Bid

Deadline of Sunday, April 21 at 5:00 p.m.


42
   A copy of the redline of the Ensign Second Revised Credit Bid APA is attached hereto as Exhibit H.
43
   See Ensign Second Revised Credit Bid APA at 2.
44
   See Ensign Cash Bid APA § 11.11; Ensign Initial Credit Bid APA § 11.11.
45
   See Ensign Second Revised Credit Bid APA at ¶ 7.08(c).


                                                     Page 13
                 Case 17-13030-MFW        Doc 373     Filed 04/28/19    Page 18 of 32



           D.       The Multiple Adjournments.

           25.      On Monday, April 21, 2019 at 10:08 a.m. (EST) the parties reconvened via

telephone. Debtors’ counsel took two recesses only to further adjourn the auction until 3:00 p.m.

(EST) later that day.46 The parties reconvened via teleconference at 3:07 p.m. only to have

Debtors’ counsel convey that they were still working through issues with the Ensign Peak’s

credit bid. Debtors’ counsel then adjourned the auction (the “Second Adjournment”) for a

second time until Tuesday, April 22, 2019 at 3:00 p.m. (EST).47 As with the morning session

and, again, consistent with the Debtor’s Adjourned Bid Deadline, the bidding was not re-opened.

In connection with the second adjournment, the Debtors filed their Second Notice of Adjourned

Auction [D.I. 362]. The Second Notice of Adjourned Auction did not re-open the bidding

deadline of April 21.

           26.      On Tuesday, April 22, 2019 at 3:00 p.m. (EST) the parties again reconvened via

teleconference and again they were told that the Debtors were still working through issues with

the Ensign Peak’s credit bid. As with the prior re-convened sessions and, again, consistent with

the Debtor’s Adjourned Bid Deadline, the bidding was not re-opened. Debtors’ counsel then

adjourned the auction (the “Third Adjournment”) for a third time until Thursday, April 25,

2019 at 3:00 p.m. (EST). In connection with the third adjournment, the Debtors filed their Third

Notice of Adjourned Auction [D.I. 365]. The Third Notice of Adjourned Auction did not re-open

the bidding deadline of April 21.

           27.      On Thursday, April 25, 2019 the parties again reconvened via teleconference and

again they were told that the Debtors were still working through issues with the Ensign Final

Credit Bid. Debtors’ counsel then adjourned the auction indefinitely (the “Fourth


46
     Transcript at 65:17-20.
47
     Transcript 17:19-22.


                                                 Page 14
                 Case 17-13030-MFW               Doc 373       Filed 04/28/19         Page 19 of 32



Adjournment”) for a fourth time until an unspecified time. As with the prior re-convened

sessions and, again, consistent with the Debtor’s Adjourned Bid Deadline, the bidding was not

re-opened. In connection with the Fourth Adjournment, the Debtors filed their Fourth Notice of

Adjourned Auction [D.I. 365], which set the adjourned auction for April 26, 2019 at 3:00 p.m.

(EST). The Fourth Notice of Adjourned Auction did not re-open the bidding deadline of April

21.

           28.      On Friday, April 26, 2019, the parties again reconvened via teleconference (the

“Friday Auction”). At the Friday Auction, Ensign Peak again raised its credit bid, this time to

$30 Million (the “Ensign Final Credit Bid”). This Bid was permitted after the Bidding Deadline

of April 21, which was never changed, and the Debtor did not reopen bidding for any other

bidding party. Ensign was simply permitted to make another Bid days after the Debtor’s written

bidding deadline, and no other party was permitted to make a counter. In conjunction with the

Ensign Final Credit Bid, Ensign Peak submitted another further revised asset purchase agreement

(the “Ensign Final Credit Bid APA”).48 This Bid, submitted 5 days after bids were officially

shut down by the Debtor in writing, was the first Ensign Bid that contained the signature of

Wells Fargo. The Ensign Final Credit Bid APA further enhanced the releases for the Debtors’

and its principals (which started as a threat in the first and second Ensign APA’s to sue the

Debtor and its representatives for fraud). The Ensign Final Credit Bid APA further enhanced the

releases for the Debtors’ and its principals (which started as a threat in the first and second

Ensign Peak APAs to sue the Debtors and its representatives for fraud) as it now included

releases not only for the Debtors’ affiliates that are debtors in this case, but also the “Non-Debtor

Affiliates,” which includes CVACorp (an entity owned by the Debtors’ representative making



48
     A copy of the redline of the Ensign Final Credit Bid APA is attached hereto as Exhibit I.


                                                        Page 15
                 Case 17-13030-MFW              Doc 373   Filed 04/28/19   Page 20 of 32



the decision on which Bid to choose as the winning bid), Attilanus, and Anysia.49 The Debtors,

their principals, and their affiliates (debtor and non-debtor) also will receive releases from Wells

Fargo under the Ensign Final Credit Bid APA.50 After the announcement, the Debtors filed their

Notice of Winning Bidder (the “Winning Bidder Notice”) [D.I. 370].

           29.      On April 26, 2019, the Debtors filed their Notice of Agenda of Matters Scheduled

for Hearing on April 30, 2019 at 10:30 A.M. (ET) (the “Sale Hearing Agenda”) [D.I. 369],

which reset the hearing on approval of the sale to May 1, 2019 at 2:00 p.m. (ET).

                                      ARGUMENT AND AUTHORITY

           30.      When a court “perceives any degree of fraud, unfairness or mistake with the sale,

including any flaws with an auction process, the court should assess the impact of these factors

on the sale […].” See In re Family Christian, LLC, 533 B.R. 600, 622 (Bankr. W.D. Mich. 2015)

(citing In re Embrace, 178 B.R. 112, 120 (Bankr. W.D. Mich. 1995)) (emphasis added). “Where

a proposed sale would benefit an insider of a debtor, the court is required to give heightened

scrutiny to the fairness of the value provided by the sale and the good faith of the parties in

executing the transaction. See In re Family Christian, LLC, 533 B.R. at 622 (citing Ricker &

Assocs., Inc. v. Smith (In re Rickel Assocs., Inc.), 272 B.R. 74, 100 (Bankr. S.D.N.Y 2002)); see

also In re Embrace, 178 B.R. at 126; Bayer Corp. v. MascoTech, Inc. (In re Autostyle Plastics,

Inc.), 269 F.3d 726, 745 (6th Cir. 2001). In this case, the Debtors and their counsel blatantly

violated the Bid Procedures, disregarded the Bankruptcy Code and Bankruptcy Rules, and agreed

to a bid that provides the Debtors’ principals, counsel and lenders with releases that would

otherwise be subject to creditor and judicial scrutiny. In order to protect the integrity of the Bid




49
     See Ensign Final Credit Bid APA at § 7.08(c).
50
     See Ensign Final Credit Bid APA at § 7.08(d).


                                                     Page 16
              Case 17-13030-MFW            Doc 373       Filed 04/28/19      Page 21 of 32



Procedures and ensure conformance to bid procedures in future cases, the Court should deny

approval of the sale to Ensign Peak and/or Wells Fargo.

        A.      Ensign Peak Could Not Bid at the Auction Because it Did Not Submit a
                Qualified Bid.

        31.     As outlined above, the Bid Procedures specify the parameters and requirements

that must be met in order for a party to attend the Auction and bid on the Debtors’ assets. More

specifically, in order to attend the Auction and bid on the Debtors’ assets a party must have

submitted a “Qualified Bid” (as that term is defined in the Bid Procedures) prior to the Bid

Deadline.51

                i.       The Ensign Cash Bid was less favorable than the terms of the TSG
                         Stalking Horse APA.

        32.     Pursuant to Section D(a) of the Bid Procedures, to be deemed a “Qualified Bid” a

“Qualified Bidder” must submit a bid that “is no less favorable than the terms and conditions of

the [TSG APA].” The Ensign Cash Bid and related Ensign Cash Bid APA were both

significantly less favorable than the TSG APA. More specifically, the Ensign Cash Bid APA

included at least two significant assets that were not included in the TSG APA—the Accounts

Receivables (as that term is defined in the Ensign Cash Bid APA and each of the subsequent

credit bid APAs) and litigation claims and causes of action, including Avoidance Actions (as

that term is defined in the Ensign Cash Bid APA, and each of the subsequent credit bid APAs).

Ensign’s counsel admitted on the record that the Accounts Receivables were worth at least

$300,000 and should accordingly be included in any valuation of its bid.52 Further, each time

Ensign Peak explained the value of its credit bid, it would subtract the $300,000 value of the

Accounts Receivables.

51
   As defined in the Bid Procedures Order, “Bid Deadline” was April 12, 2019 at 5:00 p.m. (prevailing Eastern
Time). See Bid Procedures Order at ¶ 7.
52
   See Transcript of Auction at 12:15-18.


                                                  Page 17
             Case 17-13030-MFW          Doc 373        Filed 04/28/19   Page 22 of 32



       33.     Further, the Ensign Cash Bid APA included “Avoidance Actions” within the

definition of assets. On the record, for purposes of valuing bids, the Debtors and Ensign Peak

valued at least the GERS litigation at $10 Million. As such, when the break-up fees and expense

reimbursements ($600,000), the accounts receivable ($300,000), and litigation (at least $10

Million) are subtracted from the $6.7 Million bid, the net value to the estate was a negative

$4,200,000. Hardly a bid that is “no less favorable than the [TSG APA].” Because the Ensign

Cash Bid was not a “Qualified Bid,” Ensign Peak did not submit a Qualified Bid by the Bid

Deadline and thus, pursuant to paragraph 15 of the Bid Procedures, was not permitted to

participate in the Auction.

               ii.     Ensign Peak’s Bid Did Not Meet the Minimum Topping Amount.

       34.     Similarly, the Ensign Cash Bid did not meet the “Minimum Topping Amount,” as

required by section (D)(j) of the Bid Procedures. In order to be considered a “Qualified Bid” the

bid must be likely to result in to the Debtors’ estates in the Debtors’ business judgment that is

more than the aggregate value of the sum of (i) $6 Million; (ii) the sum of the break-up fee and

expense reimbursements for both BPCP and TSG in the aggregate amount of $600,000; and (iii)

$100,000.00. See Bid Procedures § D(j). Thus, in order to comply with the Minimum Topping

Amount, each bid was required to be, at a minimum, $6.7 million. As explained above, the net

effect of the Ensign Credit Bid was negative 4,200,00.00. Consequently, the Ensign Cash Bid

was not a “Qualified Bid” and therefore Ensign Peak could not participate at the Auction.

       B.      Ensign Peak May Not Credit Bid.

       35.     Each of Ensign Peak’s credit bids are not allowed because Ensign Peak is not a

secured creditor. Section 506(a) of the Bankruptcy Code determines the extent that a creditor

may be a “secured” creditor. It specifically states:




                                              Page 18
               Case 17-13030-MFW              Doc 373        Filed 04/28/19        Page 23 of 32



                  An allowed claim of a creditor is secured by a lien on property in which
                  the estate has an interest . . . is a secured creditor to the extent of the value
                  of such creditor’s interest in the estate’s interest in such property . . . and is
                  an unsecured claim to the extent that the value of such creditor’s interest
                  … is less than the amount of such allowed claim.

See 11 U.S.C. § 506(a)(1) (emphasis added). It is undisputed that Ensign Peak does not have a

security interest in any of the Debtors’ property or the collateral. Rather, the Indenture grants the

security interests to Wells Fargo (Trustee) for the benefit of the “Securityholders” (i.e., Ensign

Peak).53 Ensign Peak concedes and acknowledges as much in its proof of claim. Under “Basis for

perfection” on its Proof of Claim, Ensign Peak lists “Trustee (for benefit of Securityholders)

holds collateral).54

         36.      Further, both the Debtors and Wells Fargo have consistently taken the position in

the GERS Adversary that Wells Fargo is the Debtors’ “sole” secured Party. See WF GERS MSJ

Brief at 9; Debtors’ GERS MSJ Brief at 20. Wells Fargo reaffirmed this position in its omnibus

response to TSG and Baypoint’s surcharge motions.55 As explained and argued by both Wells

Fargo and the Debtors in their briefs in the GERS Adversary, the grant language in the Indenture

provides a security interest only to Wells Fargo as the Indenture Trustee. Specifically, the

Indenture provides only Wells Fargo with a secured interest in the Debtor’s assets “for the

benefit of the Securityholders [i.e., Ensign Peak].” See WF Brief at p.10.

         37.      When an indenture creates a lien for the beneficiaries of the indenture, a separate

lien is not created in favor of the beneficiaries; rather, the lien is held by the collateral agent “for

the benefit of the parties to the indenture.” See In re Covenant at South Hills, Inc., 410 B.R. 426,


53
   See Indenture at 2-3.
54
   See Ensign POC at 2.
55
   See Wells Fargo Bank, N.A.’s Omnibus Response to (I) Amended Motion of the Settlement Group, Inc. for Entry
of an Order Authorizing the Surcharge of Secured Creditor’s Collateral (Proceeds of Sale of Debtors’ Assets) and
(II) BPCP Life Settlement LLC’s Notice Seeking Payment of Break-Up Fee and Expense Reimbursement and
Payment from Sale Proceeds [D.I. 371] at 9 (“Despite its role as the sole secured party, the Indenture Trustee has no
economic state or beneficial interest in the Collateral.”)(emphasis added).


                                                      Page 19
             Case 17-13030-MFW          Doc 373      Filed 04/28/19     Page 24 of 32



428 (Bankr. W.D. Pa. 2009); Mizuho v. Enron Corp., 2005 WL 356985, at *6 (S.D.N.Y. Feb. 15,

2005). In Covenant at South Hills, the court expressly held that the fact that a conveyance under

a loan agreement is for the benefit of a party to the indenture “does not create a lien in favor of

those entities, much less a perfected security interest.” See Covenant at South Hills, Inc., 410

B.R. at 431. Similar to the facts in Covenant, all the documents signed in this case “indicate an

intention to convey a security interest only to the Indenture Trustee.” See id. at 432.

       38.     The Enron Corp. case is in accord. In that case, the Bankruptcy Court for the

Southern District of New York, interpreting grant language similar to the language in the

Indenture, held that the collateral agent was the secured party entitled to enforce remedies in that

case. Specifically, the Enron Corp. court held:

       [A]ppellants are not “secured” in the sense that they would need to be for their
       argument to succeed. As we explained above, Flagstaff granted “all” of its right,
       title and interest in the Pledged Collateral “to the Collateral Agent.” That the grant
       was made “for the benefit of” the Bank Group is not sufficient to warrant the
       conclusion that the parties intended to give the Bank Group standing to proceed
       individually against the Pledged Collateral. If this were not so, the agreement’s
       distinction between “to” and “for the benefit of” would be rendered meaningless,
       a result that would be inconsistent with well established rules of contract
       interpretation.”

2005 WL 356985, at *7. Like the grant language in Enron Corp., the grant language in the

Indenture in this case grants the security interest to “[Wells Fargo] . . . for the benefit of [Ensign

Peak and Securityholders].” Thus, Ensign Peak is not a secured creditor with the ability to credit

bid at the auction. As a result, Ensign Peak is prohibited from credit bidding because only the

collateral agent (Wells Fargo) can enforce the rights against the collateral.

       39.     Finally, Section E of the Bid Procedures allows only those persons or entities

“holding a perfected security interest in any such Property may . . . seek to credit bid some or all

of its claims secured by such security interests for the property in which it holds such security




                                               Page 20
              Case 17-13030-MFW               Doc 373       Filed 04/28/19        Page 25 of 32



interest.” As is obvious and admitted by Ensign Peak, they do not have a perfected security

interest in any of the Debtors’ property and as such may not credit bid.

        C.       Multiple Credit Bids Are Not Authorized by the Bid Procedures.

        40.      To the extent that Ensign Peak and the Debtors argue that Ensign Peak’s Initial

Credit Bid was “on behalf of Wells Fargo” at the direction of Ensign Peak (which is completely

opposite to the 13 admissions in the Transcript that the Credit Bid was Ensign Peak’s bid, not

Wells Fargo’s bid),56 each of the subsequent credit bids were impermissible because the Bid

Procedures, adopted and ordered by this Court, provided that Wells Fargo may make only one

credit bid. The Bid Procedures expressly state:

                 Notwithstanding the foregoing, it is expressly understood and agreed that
                 the Trustee shall be entitled, but not obligated, to submit a Credit Bid
                 (provided it has received direction and indemnification from its
                 noteholders) with a purchase price equal to an amount up the Trustee’s
                 security interest in the Property; provided that such bid shall be the only
                 bid submitted by the Trustee pursuant to these Bid Procedures.57

Wells Fargo was limited to a single credit bid (plain English interpretation of the above

paragraph). The final clause—“provided that such bid shall be the only bid submitted by the

Trustee pursuant to these Bid Procedures”—appears plain enough. But when read in context with

paragraph 12, the interpretation is bolstered. Paragraph 12 of the Bid Procedures generally

recognizes the right to credit bid.58 The next paragraph (the one quoted above) then begins with a

limiting phrase—“notwithstanding the foregoing.” Paragraph 13 requires three things of a Wells

Fargo Credit Bid: (1) it must have direction and indemnification of noteholders; 59 (2) it must

have a certain purchase price; and (3) only one of such credit bids “shall” be permitted. In other

56
   When Ensign Peak made the Ensign Initial Credit Bid, counsel for Ensign Peak announced that he was speaking
and making the bid “on behalf of Ensign Peak.”
57
   See Bid Procedures at ¶ 13 (emphasis added).
58
   See Bid Procedures at ¶ 12.
59
   The alleged instructions and directions have been requested of Wells Fargo by TSG in writing and on the record at
the Auction. Both requests have been denied.


                                                     Page 21
             Case 17-13030-MFW         Doc 373      Filed 04/28/19     Page 26 of 32



words, even though paragraph 12 says the Trustee has the right to credit bid, that right to credit

bid is limited by the terms of paragraph 13. Paragraph 13 then states that the Trustee “shall be

entitled, but not obligated, to submit a Credit Bid.” The use of “a” as an indefinite article

connotes the singular nature of bid. Paragraph 13 does not read that the Trustee can submit

Credit Bids, plural. It says that the Trustee can submit a singular bid and that singular bid “shall

be the only bid submitted by the Trustee pursuant to these Bid Procedures.”

       41.     If the Ensign Initial Credit Bid was made by Wells Fargo, then that was the only

credit bid it could submit. The Ensign Initial Credit was $11 Million. Even if credit is given for

the $1,275,000 in cash being left behind with the Debtors, when the value of the cash

(approximately $3.2 Million), accounts receivable ($300K), and GERS Litigation ($10 Million)

is subtracted from the $11 Million credit bid, the net value to the estate is net negative $1.225

Million. Even if the Court were to consider the astronomical $2 Million in litigation costs Ensign

Peak says will be saved by settling the GERS litigation and the $2 Million in premiums not being

paid, the value to the estate is still only net positive $2.775 Million. Consequently, assuming

arguendo that the Ensign Initial Credit was on behalf of Wells Fargo, then Wells Fargo’s sole

credit bid was not higher than any of the cash bids, much less TSG’s $10.4 Million bid.

       D.      Neither Ensign Peak Nor Wells Fargo has a Security Interest in the Debtor’s
               Claims and Causes of Action.

               i.      Ensign Peak and Wells Fargo cannot credit bid for the litigation and
                       Avoidance Actions.

       42.     Perhaps most problematic with Ensign Peak’s multiple credit bids is that these

various bids attempt to credit bid for the purchase of claims and causes of action (including

“Avoidance Actions” and the claims asserted in the GERS Adversary) belonging to the Debtor




                                              Page 22
             Case 17-13030-MFW          Doc 373     Filed 04/28/19      Page 27 of 32



when neither Ensign Peak nor Wells Fargo have liens on those assets. Section 363(k) of the

Bankruptcy Code provides:

               At a sale under subsection (b) of this section of property that is subject to a
               lien that secures an allowed claim, unless the court for cause orders
               otherwise the holder of such claim may bid at such sale, and if the holder
               of such claim purchases such property, such holder may offset such claim
               against the purchase price of such property.

11 U.S.C. § 363(k). Put differently, a creditor must have a lien on the assets in which it elects to

credit bid. See In re CS Mining, LC, 574 B.R. 259, 283 (Bankr. D. Utah 2017) (citing Collier on

Bankruptcy ¶ 363.09 (Alan N. Resnick & Henry J. Sommer eds., 16th ed.); see also In re CHL,

LLC, Case No. 18-00630, 2018 WL 3025310, at *4 (Bankr. E.D.N.C. June 14, 2008) (“Section

363(k), in turn, requires that a lienholder be permitted to credit bid at a sale free and clear of

liens, ‘unless the court for cause orders otherwise.’”); In re Diebart Bancroft, Case No. 92-3744,

1993 WL 21423, at *5 (E.D. La. Jan. 26, 1993) (“[Section] 363(k) allows a lienholder to bid its

lien, unless the court for cause orders otherwise.”); In re 222 Liberty Assoc., 108 B.R. 971, 979

(Bankr. E.D. Pa. 1990) (“Section 363(k) permits a lienholder to bid up to the entire amount of its

lien when property is sold out of the ordinary course of business”). The Indenture does not create

a security interest or lien on the Debtors’ claims and causes of action. As such, neither Ensign

Peak nor Wells Fargo have a lien on certain of the assets (the claims and causes of action) they

are attempting to credit bid.

       43.     Debtors’ counsel agreed on the record, explaining on April 22, 2019 (after the

First Adjournment):

               The Debtors had raise the issue of whether or not Ensign Peak could credit
               bid on the – on causes of action, including the GERS litigation, as it was
               the Debtor’s position that causes of action like that were not covered by
               Ensign Peak liens under the indenture.




                                              Page 23
                 Case 17-13030-MFW            Doc 373      Filed 04/28/19   Page 28 of 32



Although Ensign Peak contests the Debtors’ position, Ensign Peak’s actions appear to indicate

otherwise. In response to the Debtors’ position, Ensign Peak rewrote the definition of “Purchase

Price” in the Ensign Second Revised Credit Bid APA such that the sum of the “Residual

Amount, Break-Up Fee and Expense Reimbursement, Allowed Claims Amount and Assumed

Liabilities” are now defined as the “Cash Amount.”60 Both Debtors’ counsel and Ensign Peak’s

counsel on the record acknowledged that the change was a “significant structural change[].”61

           44.     Even if the Indenture did grant a security interest on the Debtors’ claims and

causes of action (which it doesn’t) the Indenture certainly did not grant a lien on “Avoidance

Actions.” Section 552 of the Bankruptcy Code provides:

                   Except as provided in subsection (b) of this section, property acquired by
                   the estate or by the debtor after the commencement of the case is not
                   subject to any lien resulting from any security agreement entered into by
                   the debtor before the commencement of the case.

11 U.S.C. § 552(a). Because the “Avoidance Actions” are a function of the Bankruptcy Code,

they did not exist prior to the Petition Date. Consequently, any prepetition security agreement,

including the Indenture, cannot create a lien on such “Avoidance Actions.” See In re Tek-Aids

Industries, Inc., 145 B.R. 253, 256 (Bankr. N.D. Ill. 1992); In re Pearson Industries, Inc., 178

B.R. 753, 764-65 (Bankr. N.D. Ill. 1995); In re Ludford Fruit Productions Inc., 99 B.R. 18, 24-

25 (Bankr. C.D. Ca. 1989); In re Integrated Testing Products Corp., 69 B.R. 901, 904-05 (D.N.J.

1987). By this same logic, a number of the Debtors’ counterclaims asserted in the GERS

Litigation based upon section 510 (subordination), 547 (preference), 502(d) (disallowance),

544(b) (fraudulent transfer and strong-arm); and 550 (recovery) are not subject to any liens and

thus Ensign Peak cannot credit bid on these assets.



60
     See Ensign Second Revised Credit Bid APA at 7.
61
     See Transcript at 60:24-25.


                                                      Page 24
             Case 17-13030-MFW          Doc 373      Filed 04/28/19     Page 29 of 32



       45.      At a bare minimum, any such lien that Ensign Peak or Wells Fargo may assert on

the Debtors’ claims and causes of action is subject to a bona fide dispute and thus the Bid

Procedures expressly prohibit any credit bid on those claims. The Bid Procedures expressly state:

               a person or entity holding a perfected security interest in any such
               Property may, pursuant to section 363(k) of the Bankruptcy Code, seek to
               credit bid some or all of its claims secured by such security interests for
               the property in which it holds such security interest (each such bid, a
               “Credit Bid”), provided that such claims and/or security interests are not
               subject to a bona fide dispute.

See Bid Procedures at ¶ 12. Because the Indenture does not provide a lien on those assets, and

section 552 makes clear that any lien that may have been created pursuant to the Indenture would

not attach to the “Avoidance Actions” then at a minimum such liens are subject to a bona fide

dispute and neither Ensign Peak nor Wells Fargo can credit bid to purchase those assets.

               ii.     The “Cash Amount” in the Ensign Final Credit Bid APA is illusory.

       46.     Although the Ensign Final Credit Bid APA defines “Cash Amount” to include

“Residual Amount, Break-Up Fee and Expense Reimbursement, Allowed Claims Amount and

Assumed Liabilities,” the Residual Amount, Break-Up Fee and Expense Reimbursement, and

Allowed Claims Amount are all being paid out of the cash the Debtors currently have on hand,

and which Wells Fargo and Ensign Peak assert is cash collateral. Put differently, Ensign Peak is

using the Debtors’ cash (which it asserts a lien on) to pay the Cash Amount. Essentially, Ensign

Peak (or Wells Fargo if Wells Fargo is the bidder on behalf of Ensign Peak) is merely credit

bidding a portion of its lien on cash to pay for the litigation assets, including the Avoidance

Actions. Because neither Ensign Peak nor Wells Fargo has a lien on those claims and causes of

action, it cannot credit bid (even credit bid its lien on cash) for those litigation claims and causes

of action and thus the Court should decline to approve the sale to Ensign Peak or Wells Fargo.




                                               Page 25
                 Case 17-13030-MFW                Doc 373   Filed 04/28/19   Page 30 of 32



           E.       Ensign Peak’s Credit Bid APA Contains Impermissible Releases.

           47.      The various Ensign Peak credit bids are practically a disguised sub rosa plan.

Among other things, the Final Ensign Credit Bid APA provides for a multitude of releases.

Specifically, the Final Ensign Credit Bid APA provides that the Debtors are fully releasing

Ensign Peak, the Trustee and GERS, including all of the claims in the GERS Litigation. 62 At the

outset, Ensign Peak’s counsel announced that Ensign Peak’s credit bids “resolves the outstanding

litigation with GERS.”63 Compromises and settlements in bankruptcy are subject to bankruptcy

court approval. See Fed. R. Bankr. P. 9019. Likewise, creditors are entitled to notice of any

proposed settlements and the opportunity to weigh-in on the merits of any settlement. See Fed. R.

Bankr. P. 2002(a)(3). Nothing in the Sale Motion mentions any settlement of any claims or

causes of action, especially not settlement of the type of significant litigation that is the basis of

the GERS Adversary. The TSG APA (i.e., the stalking horse APA on the docket and referenced

in all of the Sale Notices sent to creditors) has no settlements or compromises in it. Thus, in the

eyes of the creditor body as a whole, there is absolutely no notice that the Debtors are settling

claims and causes of action. To approve the Ensign Final Credit Bid APA with the releases

contained therein would be blatantly violative of both Federal Rule of Bankruptcy 2002 and

9014. Consequently, the Court should deny the sale to Ensign Peak.

                                                  CONCLUSION

           48.      Since the beginning of the Auction, the process can be characterized as a series of

gaffes and errors. Ensign Peak never submitted a “Qualified Bid” and thus should not have been

allowed to participate from the very beginning. After ignoring the plain language of the Bid

Procedures, Debtors’ counsel allowed Ensign Peak to participate but acknowledged issues with


62
     See Ensign Final Credit Bid APA at § 7.08.
63
     See Transcript of Auction at 6:20 – 7:8.


                                                      Page 26
            Case 17-13030-MFW          Doc 373     Filed 04/28/19     Page 31 of 32



Ensign Peak credit bidding on assets it did not have a lien. Undeterred, Debtors counsel

continued negotiating with Ensign Peak behind the scenes, adjourning the auction four separate

times so that it could “work through” issues with Ensign Peak’s various credit bids. In the end,

the Debtors and their counsel accepted a bid that was not only violative of the Bid Procedures,

but violative of the Bankruptcy Code (credit bidding on assets in which there is no lien) and

Federal Rules of Bankruptcy Procedure. In a time where chapter 11 cases are moving towards

section 363 sales, and further away from plans of reorganization and the procedural protections

attendant therewith, bid procedures to govern the auction and sales process are vitally important

to ensure fundamental fairness in the process. The Bid Procedures in this case were entered by

this Court and all of the parties were fully aware of them. Debtors’ counsel in this case chose to

ignore those procedures and instead negotiate a transaction that is insupportable by the Bid

Procedures, the Bankruptcy Code and the Bankruptcy Rules. Consequently, the Court should

deny the sale to Ensign Peak and/or Wells Fargo, and instead approve the sale to Back-Up

Bidder, The Settlement Group, Inc.

       WHEREFORE, based upon the foregoing, TSG requests entry of an order sustaining the

objection, ordering the Debtors to close with the Back-Up Bidder, The Settlement Group, Inc.,

and granting such other and further relief as may be just and appropriate.




                                              Page 27
          Case 17-13030-MFW   Doc 373     Filed 04/28/19    Page 32 of 32



Dated: April 28, 2019
       Wilmington, Delaware       Respectfully submitted,

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                                  Page 28
